~~” Case o-20-Q0049-asSt DOC o0-1le =FIed Ulilo/25s Entered Oliloizo 20141744

EXHIBIT L
Case 0-2U-00049-ast DOC o0-lé2 Filed Ol/lofes Entered Uliloizs cO0l4 1144

RE: software company

From:
Paul Parmar <paul@constellationhealthgroup.com> oN
To: KO!

Lee Pershan <Isp@robinsonbrog.com>, "A. Mitchell Greene" <amg@robinsonbrog.com>, Adam J Greene <ajg@robinsonbrog.com~
Cc:

David Cykiert <dc@robinsonbrog.com>, Sam Zaharis <sam.zaharis@constellationhealthgroup.com>, Ravi Chivukula
<ravi.chivukula@orionhealthcorp.com>

Date:

Wed, 31 May 2017 14:49:04 -0400

Overall profit of RCM business

Get Outlook for Android

From: Adam J Greene <ajg@robinsonbrog.com>
Sent: Wednesday, May 31, 2017 2:36:43 PM
To: Lee Pershan; A. Mitchell Greene
Ce: Paul Parmar; David Cykiert; Sam Zaharis; Ravi Chivukula
Subject: RE: software company

Adam J. Greene, Esq.

Robinson Brog Leinwand Greene Genovese & Gluck PC

875 Third Avenue/9th Floor .
New York, NY 10022 . )
(212) 603-0496 (Voice)

PP please explain this
We gather that the two installments should be $1,050,000. | don't understand the margin requirement - is it that overall profits of

the company with some adjustment for the purchase price?

From: Paul Parmar [mailto:paul@constellationhealthgroup.com]
Sent: Wednesday, May 31, 2017 12:59 PM.

To: Adam J Greene; Lee Pershan
Ce: Sam Zaharis; Ravi Chivukula
Subject: software company

Adam, Lee

fam acquiring a small software company for 4.5m with payments as follows
1. 2.4m at close
2. 2.1m paid in two 6 monthly installments of SSOK each based on the software bringing 12% margin in first 6 months and

15% margins in next 6 months

Create a company called Physicians Healthcare Network Management Solution (PHNMS ) , LLC to make this acquisition
of Objecttech holdings Ilc

PI. do this quick so | can get it going.

L

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